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                 8                         UNITED STATES DISTRICT COURT
                 9                        CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 ACTIVISION PUBLISHING, INC., a                 CASE NO. 2:21-cv-3073
                    Delaware corporation,
                 12                                                COMPLAINT FOR
                               Plaintiff,                          DECLARATORY RELIEF
                 13
                         v.
                 14                                                Demand For Jury Trial
                    WARZONE.COM, LLC,
                 15
                 16
                                  Defendants.
                 17
                 18
                            Activision Publishing, Inc. (“Activision” or “Plaintiff”), by its attorneys
                 19
                      Mitchell Silberberg & Knupp LLP, complain and allege against defendant
                 20
                      Warzone.com, LLC (“Defendant”) as follows:
                 21
                 22
                                              PRELIMINARY STATEMENT
                 23
                            1.    This is an action for declaratory relief, seeking a declaration that
                 24
                      Activision’s use and registration of the word marks WARZONE and CALL OF
                 25
                      DUTY WARZONE do not infringe Defendant’s purported trademark rights in the
                 26
                      title of its browser-based strategy game “Warzone.”
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                  1         2.    Activision is among the world’s leading publishers of video games
                  2 and interactive entertainment products. Among Activision’s most popular video
                  3 game products are the Call of Duty series of video games. The Call of Duty
                  4 franchise has been the world’s leading military-themed “first-person shooter” game
                  5 series for nearly two decades. Since 2003, Activision has released to the public
                  6 more than two dozen Call of Duty games for personal computers, game consoles,
                  7 and mobile devices. In 2020, Activision released a free-to-play multiplayer game
                  8 titled Call of Duty: Warzone, a large-scale, highly competitive, fast-paced military
                  9 combat game in which 150 players fight to be the last soldier standing in a
                 10 massive, detailed, fully-realized “Warzone,” spanning more than nine square
                 11 kilometers of virtual space.
                 12         3.    Activision’s Call of Duty: Warzone could not be more different from
                 13 Defendant’s game, a low-budget, niche virtual board game like Hasbro’s Risk
                 14 where players take turns moving numbers (representing “armies”) across a map of
                 15 the world. Indeed, it is inconceivable that any member of the public could confuse
                 16 the two products or believe that they are affiliated with or related to each other.
                 17 Nevertheless, Defendant has claimed that Activision’s Call of Duty: Warzone
                 18 infringes Defendant’s alleged trademark rights in the word “Warzone.” Defendant
                 19 specifically has threatened to seek an injunction preventing Activision from using
                 20 the word “Warzone,” massive damages for the alleged injury to Defendant’s
                 21 alleged “brand,” and an order from the U.S. Patent and Trademark Office
                 22 preventing Activision from registering a trademark in the title of Activision’s
                 23 popular game.
                 24         4.    Defendant’s threats of litigation and active efforts to block
                 25 Activision’s trademark registrations have created an actual and live controversy as
                 26 to the parties’ respective rights to use or register trademarks that include the word
                 27 “Warzone.” Because Activision’s use of the “Warzone” title is both protected by
    Mitchell     28 the First Amendment and unlikely to cause consumer confusion, Activision is
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                  1 entitled to a declaration that it has not infringed Defendant’s alleged trademark and
                  2 is entitled to have its pending trademark applications mature to registration.
                  3
                  4                            JURISDICTION AND VENUE
                  5         5.     This is an action for declaratory relief, arising under the Lanham Act,
                  6 15 U.S.C. § 1051 et seq. and the Declaratory Judgment Act, 18 U.S.C. § 2201.
                  7         6.     This Court has subject matter jurisdiction over Activision’s claims for
                  8 declaratory relief pursuant to 28 U.S.C. §§ 1331 and 1338, as the claims arise
                  9 under and require interpretation of the trademark laws of the United States.
                 10         7.     This Court has personal jurisdiction over Defendant because it has
                 11 purposefully directed its activities at the State of California and has purposefully
                 12 availed itself of the benefits of doing business in California, including by
                 13 soliciting, doing business with, entering into contracts with, and communicating
                 14 with individuals or entities in the State of California such as end-users, internet
                 15 service providers, distribution platforms, and payment processors.
                 16         8.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
                 17 because this is a judicial district in which a substantial part of the events giving rise
                 18 to the claims occurred.
                 19
                 20                                     THE PARTIES
                 21         9.     Activision is a corporation duly organized and existing under the laws
                 22 of the State of Delaware, with its principal place of business in Santa Monica,
                 23 California.
                 24         10.    Activision is informed and believes, and on that basis alleges, that
                 25 Defendant is a corporation duly organized and existing under the laws of the State
                 26 of Washington, with its principal place of business in Everett, Washington.
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                  1                     FACTS APPLICABLE TO ALL CLAIMS
                  2                        Activision and Its Call of Duty Games
                  3         11.   Activision is among the world’s preeminent video game publishers,
                  4 engaged in the business of producing, financing, marketing, and distributing a
                  5 portfolio of popular video games and interactive entertainment products. Among
                  6 Activision’s most popular video games are the Call of Duty series of games.
                  7         12.   Activision’s Call of Duty games are military-themed “first-person
                  8 shooter” games, in which the player assumes the role of a military soldier or
                  9 special forces operative and engages in intense, ground-based infantry combat
                 10 against computer-controlled or human-controlled players across a series of
                 11 computer-generated, virtual battlegrounds.
                 12         13.   The Call of Duty game franchise has been in existence for nearly two
                 13 decades. The first Call of Duty game was released in 2003, followed by Call of
                 14 Duty 2 in 2005. Since then, Activision has released new installments in the Call of
                 15 Duty franchise on a yearly basis, through and including 2020’s Call of Duty: Black
                 16 Ops Cold War. To date, Activision has released 16 major installments to the Call
                 17 of Duty franchise for personal computers and home game consoles such as the
                 18 PlayStation and Xbox. In addition, Activision has released a number of
                 19 “remasters” (i.e. upgraded versions of prior games), “spin-offs,” and mobile or
                 20 handheld versions of Call of Duty. These include, for example, Call of Duty:
                 21 Mobile (2019, for mobile devices), Call of Duty: Modern Warfare Remastered
                 22 (2016, for PC and game consoles), Call of Duty: Modern Warfare Mobilized
                 23 (2009, for the Nintendo DS), and Call of Duty: Heroes (2014, for mobile devices).
                 24         14.   According to public reports, Activision has sold more than 300
                 25 million Call of Duty games. The series is considered the most successful first-
                 26 person shooter game franchise ever made, with millions of people playing
                 27 Activision’s Call of Duty games each day. As a result, the Call of Duty name and
    Mitchell     28 trademark is among the strongest entertainment brands in the world and is
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                  1 immediately recognizable to consumers of home entertainment products
                  2 throughout the United States and the world. Millions of people associate the Call
                  3 of Duty name with Activision and its military-themed first-person shooter games.
                  4
                  5                                Call of Duty: Warzone
                  6         15.   On March 10, 2020, Activision released a stand-alone, “free to play,”
                  7 online multiplayer game titled Call of Duty: Warzone (“CODWZ”).
                  8         16.   CODWZ, like other Call of Duty titles, is a competitive, first-person
                  9 military shooter game in which the player assumes the role of a military soldier
                 10 and competes against other human players. CODWZ features a very large
                 11 computer-generated battlefield (or “warzone”) that accommodates up to 150
                 12 players (and sometimes 200 players) at one time. In its most popular (“Battle
                 13 Royale”) game mode, players parachute onto the warzone, scrounge for weapons
                 14 and equipment, and compete to be the “last one standing.” In the warzone, players
                 15 may encounter and acquire a variety of military-style equipment such as guns,
                 16 explosives, traps, vehicles, and melee weapons. As the game progresses, the
                 17 playable area shrinks, forcing players to come into close contact with each other.
                 18 When all other players have been eliminated, the remaining player is declared the
                 19 winner. A representative image of CODWZ’s gameplay appears below:
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                  1         17.     Because all combat takes place on a single, massive virtual landscape
                  2 (of over nine square kilometers) that is populated by dozens of players engaged in
                  3 virtual military combat against opponents, the title “Warzone” is both logical and
                  4 highly relevant to the content of the game. Indeed, the battlefield on which combat
                  5 takes place has all the hallmarks of a real-life warzone: namely, it is a “zone in
                  6 which belligerents are waging war broadly: an area marked by extreme violence.”1
                  7         18.     Since its release, Activision consistently has marketed and promoted
                  8 CODWZ as a part of the Call of Duty franchise. For example, key art for CODWZ
                  9 prominently displays the Call of Duty name and logo, includes artwork consistent
                 10 with the overall franchise, and uses a font consistent with other games in the
                 11 franchise:
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                      Like other Call of Duty titles, CODWZ contains realistic objects, weapons, and
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                      other in-game “assets” (textures, 3D models, landscapes) familiar to Call of Duty
                 22
                      players and uses a control scheme that is the same as or similar to other Call of
                 23
                      Duty games.
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                      Warzone, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-
                 28 webster.com/dictionary/war%20zone
  Silberberg &                                        (last visited Apr. 8, 2021).
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                  1                             Defendant and Warzone.com
                  2         19.   Activision is informed and believes, and on that basis alleges, that
                  3 Defendant is a Washington-based LLC that developed and makes available to the
                  4 public a “browser-based” game titled Warzone. Warzone is a free-to-play, turn-
                  5 based strategy game (akin to a board game) that Defendant markets as “Better than
                  6 Hasbro’s RISK game” and with the slogan “If you like Hasbro’s RISK® game,
                  7 you’ll love Warzone! Play alone or with friends.”
                  8         20.   Defendant claims that it released Warzone to the public in November
                  9 2017. Activision is informed and believes, and on that basis alleges, that in its
                 10 initial version, Warzone was playable exclusively on Defendant’s internet website,
                 11 www.warzone.com, using a web browser such as Internet Explorer or Google
                 12 Chrome. Sometime thereafter, Defendant made the game available to be played on
                 13 mobile devices such as Apple iPhones and Android smartphones. Warzone is
                 14 distributed and available to residents of the Central District of California. Warzone
                 15 has never been available for video game consoles such as the Microsoft Xbox,
                 16 Sony PlayStation, or Nintendo Switch.
                 17         21.   Activision is informed and believes, and on that basis alleges, that
                 18 Defendant’s Warzone is one of many games titled “Warzone” that are available on
                 19 the internet as a browser-based game or on mobile distribution platforms such as
                 20 the Apple App Store and Google Play Store. Other games with the same name
                 21 include, for example, Warzone by KEA Games, Warzone by Arcade Studios,
                 22 Warzone by Zaid Ghababsheh, Warzone by Y8.com, Warzones by Y8.com,
                 23 Warzone Mercenaries by Y8.com, WWII: Warzone by Y8.com, Warzone Online
                 24 MP by Y8.com, Crossfire: Warzone by JOYCITY, No Rule Warzone by Ren Xila,
                 25 Battle Royale Warzone by RedZone Studios LLC, Idle Warzone 3d by Virede,
                 26 Warzone: Clash of Generals by Stratosphere Games, Warzone Getaway 2020 by
                 27 Ace Viral, Anomaly Warzone Earth by 11 bit Studios S.A., and Warzone!
    Mitchell     28 Emergency Landing by Reludo. Activision’s CODWZ is not currently available on
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                  1 mobile devices or smartphones.
                  2         22.   Unlike CODWZ, Defendant’s Warzone is not a first-person shooter
                  3 video game. Warzone is a turn-based strategy virtual “board game” in which
                  4 players shift numbers (representing “armies”) across a map of the world in order to
                  5 take control of countries or territories. Warzone players may play against the
                  6 computer or other players in “real time” (akin to a game of computer chess) or
                  7 asynchronously (akin to a game of chess-by-mail). Below is an illustration of
                  8 Warzone as it appears on a computer browser:
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                 19         23.   Activision is informed and believes, and on that basis alleges, that
                 20 Defendant has at all relevant times marketed Warzone using a distinctive logo that
                 21 is significantly and unmistakably different from the logo used by Activision for
                 22 CODWZ, as illustrated below:
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                  1         24.   Defendant does not possess a trademark registration for WARZONE
                  2 in connection with any goods and services, including video games or software
                  3 products. Activision is informed and believes, and on that basis alleges, that the
                  4 term “Warzone” has not acquired secondary meaning as a source identifier for
                  5 Defendant’s goods and services and that the consuming public does not associate
                  6 the word “Warzone” with Defendant. To the contrary, the term “Warzone” is a
                  7 phrase that is used by many video games and other entertainment products that
                  8 involve military combat.
                  9         25.   Activision is informed and believes, and on that basis alleges that
                 10 reasonably sophisticated consumers of video games or computer software would
                 11 not be likely to confuse Defendant’s Warzone with Activision’s CODWZ. Indeed,
                 12 because Warzone and CODWZ are so different in style, gameplay, and appearance;
                 13 are marketed very differently; appeal to and are played by different consumers; are
                 14 not sold in the same channels of trade; and use completely different design marks
                 15 and logos, a consumer of Defendant’s Warzone would not be likely to believe that
                 16 CODWZ is associated with Defendant or that Defendant’s Warzone is associated
                 17 with Activision.
                 18
                 19                                 The Parties’ Dispute
                 20         26.   On or about June 25, 2020, Activision filed applications for
                 21 registration of the trademarks WARZONE (Ser. No. 90/020,487) and CALL OF
                 22 DUTY WARZONE (Ser. No. 90/020,455) in connection with “downloadable
                 23 video game software, downloadable video and computer game programs” (Class 9)
                 24 and “entertainment services, namely, providing online video games and providing
                 25 information on-line relating to computer games and computer enhancement for
                 26 games (Class 41) (the “Activision Applications”).
                 27         27.   On October 30, 2020, Defendant filed applications for registration of
    Mitchell     28 the trademark WARZONE in connection with “downloadable game software”
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                  1 (Class 9; Ser. No. 90/290,628) and “providing online non-downloadable game
                  2 software” (Class 41; Ser. No. 90/290,658) (“Defendant’s Applications”).
                  3          28.   On November 3, 2020, the marks subject to the Activision
                  4 Applications were published for opposition in the Trademark Official Gazette.
                  5 That same day, Defendant filed a Notice of Opposition to registration of the
                  6 Activision Marks (the “Opposition Proceeding”).
                  7          29.   In the Opposition Proceeding, Defendant alleges that “[u]se and
                  8 registration of Activision’s WARZONE and CALL OF DUTY WARZONE marks,
                  9 when applied to Activision’s proposed goods and services, has already and will
                 10 continue to result in the relevant consuming public being confused, mistaken or
                 11 deceived as to the affiliation, association, origin, connection or sponsorship of
                 12 Activision’s goods and services marketed under these Proposed Marks” and that
                 13 Defendant “is and will continue to be damaged by the registration of Activision’s
                 14 Proposed Marks.” The Opposition Proceeding is currently pending before the U.S.
                 15 Patent and Trademark Office.
                 16          30.   On November 20, 2020, Defendant’s counsel sent a “cease and desist”
                 17 letter to Activision’s counsel, demanding that Activision “change the name of its
                 18 games, stop using Warzone’s WARZONE mark, and abandon the trademark
                 19 applications.” Defendant also advised Activision that Defendant “would be within
                 20 its rights to seek to enjoin Activision from using the WARZONE mark and to
                 21 recover monetary relief as a result of Activision’s infringing use… [including]
                 22 Activision’s profits attributable to its use of the WARZONE mark in ‘Call of Duty:
                 23 Warzone’ or a reasonable royalty.” Activision disputes these allegations, and
                 24 expressed its position in a letter dated February 16, 2021.
                 25          31.   Activision and Defendant continued to correspond concerning this
                 26 dispute in early 2021. However, they were not able to reach an agreement, and on
                 27 March 4, 2021, Defendant’s counsel sent a letter to Activision’s counsel, stating
    Mitchell     28 that “Activision’s use of the WARZONE mark has caused actual consumer
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                  1 confusion and damaged [Defendant].” Defendant’s counsel also made a monetary
                  2 settlement demand and demanded a response to that demand by March 12, 2021.
                  3 On March 24, 2021, Activision made a counterproposal. On April 5, 2021,
                  4 Defendant rejected the counterproposal and did not offer to continue the
                  5 negotiations.
                  6          32.    Defendant’s continued threats to seek injunctive relief and monetary
                  7 damages against Activision, as well as Defendant’s Opposition Proceeding and
                  8 filing of competing trademark applications for the word “Warzone,” have created a
                  9 concrete dispute between the parties regarding Activision’s right to use and register
                 10 the WARZONE and CALL OF DUTY WARZONE trademarks in connection with
                 11 CODWZ. Declaratory relief will serve to clarify the scope of each party’s legal
                 12 rights with respect to Activision’s use of the WARZONE and CALL OF DUTY
                 13 WARZONE marks.
                 14
                 15                                         COUNT I
                 16           For A Declaration of Non-Infringement Under The Lanham Act
                 17                                   (15 U.S.C. § 1125(a))
                 18          33.    Activision re-alleges and incorporates by reference the allegations in
                 19 paragraphs 1 through 32, as if set forth fully herein.
                 20          34.    By reason of the foregoing, an actual and justiciable controversy has
                 21 arisen and now exists between Activision, on the one hand, and Defendant, on the
                 22 other hand, regarding whether Activision’s use and registration of the marks
                 23 WARZONE and CALL OF DUTY WARZONE are likely to cause consumer
                 24 confusion as to the origin of CODWZ or to mislead the public into believing that
                 25 Activision is affiliated with, sponsors, or endorses Defendant’s Warzone game, or
                 26 that Defendant is affiliated with, sponsors, or endorses CODWZ.
                 27          35.    Activision contends that its use and registration of the marks
    Mitchell     28 WARZONE and CALL OF DUTY WARZONE are not likely to cause consumer
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                  1 confusion as to the origin of CODWZ or to mislead the public into believing that
                  2 Activision is affiliated with, sponsors, or endorses Defendant’s Warzone game, or
                  3 vice-versa. Additionally, Activision contends that its use of the title Call of Duty:
                  4 Warzone in connection with its video game (which is an expressive work) is
                  5 protected by the First Amendment, including because the title is artistically
                  6 relevant to the content of the game and does not explicitly mislead as to the source
                  7 or sponsorship of its game. Defendant has contested these assertions.
                  8          36.   Activision requests a judicial declaration regarding the parties’
                  9 respective rights with respect to the use and registration of the marks WARZONE
                 10 and CALL OF DUTY WARZONE. Such a declaration is necessary and
                 11 appropriate because a substantial controversy exists between the parties having
                 12 adverse legal interests, and it is of sufficient immediacy and reality to warrant the
                 13 issuance of a declaratory judgment.
                 14
                 15                                PRAYER FOR RELIEF
                 16          WHEREFORE, Activision respectfully requests that this Court enter
                 17 judgment in its favor and against Defendant:
                 18          1.    Declaring that Defendant does not possess exclusive trademark rights
                 19 in the term “Warzone”;
                 20          2.    Declaring that Activision’s use of the WARZONE or CALL OF
                 21 DUTY WARZONE Marks does not infringe, and at all times has not infringed, any
                 22 existing and valid common law trademark rights of Defendant under the Lanham
                 23 Act, 15 U.S.C. § 1125(a);
                 24          3.    Declaring that Activision’s use of the WARZONE or CALL OF
                 25 DUTY WARZONE Marks is not likely to cause, and has not caused, confusion,
                 26 mistake or deception as to the affiliation, connection, or association of Defendant
                 27 with Activision’s goods and services, or as to the origin, sponsorship, or approval
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                  1 of Activision’s goods and services by Defendant under the Lanham Act, 15 U.S.C.
                  2 § 1125(a);
                  3          4.     Declaring that Activision’s pending applications for registration of the
                  4 marks WARZONE and CALL OF DUTY WARZONE may proceed to
                  5 registration;
                  6          5.     Declaring that Defendant’s pending applications for registration of the
                  7 mark WARZONE should not proceed to registration;
                  8          6.     Ordering that Defendant, its officers, directors, employees, agents,
                  9 affiliates, attorneys, representatives, and licensees, be enjoined and permanently
                 10 restrained from interfering with Activision’s use and registration of the
                 11 WARZONE and CALL OF DUTY WARZONE marks and from opposing, seeking
                 12 to cancel, or otherwise objecting to any federal registrations and applications for
                 13 registration of such marks;
                 14          7.     Awarding Activision its reasonable attorney’s fees and costs; and
                 15          8.     Granting Activision such other and further relief as the Court may
                 16 deem just and proper.
                 17
                 18 DATED: April 8, 2021                    MARC E. MAYER
                                                            KARIN G. PAGNANELLI
                 19                                         MITCHELL SILBERBERG & KNUPP LLP
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                 21                                         By: /s/ Marc E. Mayer
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                 22                                              Attorneys for Plaintiff

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                 1                                      JURY DEMAND
                 2           Activision demands a trial by jury on all issues so triable.
                 3
                 4 DATED: April 8, 2021                     MARC E. MAYER
                                                            KARIN G. PAGNANELLI
                 5                                          MITCHELL SILBERBERG & KNUPP LLP

                 6
                                                            By: /s/ Marc E. Mayer
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                                                                 Attorneys for Plaintiff
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